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     Trustees of the California State
   7 University; Andrea Parashos; and Lee
     Mintz
   8
                           UNITED STATES DISTRICT COURT
   9
                        SOUTHERN DISTRICT OF CALIFORNIA
  10
  11
       John Lema,                              Case No. 21CV2131 JAH KSC
  12
                    Plaintiff,                 DEFENDANTS PARASHOS AND
  13                                           MINTZ’S OBJECTIONS TO
            v.                                 EVIDENCE SUBMITTED BY
  14                                           PLAINTIFF IN OPPOSITION TO
     The Board of Trustees of the California   DEFENDANTS’ SPECIAL MOTION
  15 State University System, through its      TO STRIKE PLAINTIFF’S FIRST
     subdivision San Diego State University,   AMENDED COMPLAINT [CCP §
  16 Andrea Parashos (in her Individual        425.16]
     Capacity), Lee Mintz (in her Individual
  17 Capacity), and Does 1-20 (in Their        District Judge: Hon. John A. Houston
     Individual Capacities),                   Crtrm.:         13B
  18                                           Mag. Judge: Hon. Karen S. Crawford
                  Defendants.                  Crtrm:          Suite 1010
  19                                           Trial Date:     Not Set
  20                                                 EXEMPT FROM FEES
                                                      GOVT. CODE § 6103
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   1          Defendants Andrea Parashos and Lee Mintz (collectively “Defendants”)
   2 submit the following objections to the evidence submitted by Plaintiff John Lema in
   3 opposition to Defendants’ Special Motion to Strike Plaintiff’s First Amended
   4 Complaint [C.C.P. § 425.16] and for Attorneys’ Fees. Defendants respectfully
   5 request that the Court issue a ruling on each objection.
   6          On a special motion to strike under California Code of Civil Procedure
   7 section 425.16, the state’s anti-SLAPP statute, once it is shown that a cause of
   8 action arises out of the anti-SLAPP statute, the burden shifts to plaintiffs to establish
   9 as a matter of law that no such protection exists by showing a “probability” that
  10 plaintiffs will prevail on the challenged claims. Governor Gray Davis Committee v.
  11 American Taxpayers Alliance; 102 Cal.App.4th 449, 458-459 (2002); Code Civ.
  12 Proc., § 425.16(b).
  13          A plaintiff must produce evidence that would be admissible at trial to sustain
  14 his burden; declarations cannot include hearsay, legal argument, or inadmissible
  15 opinion. Gilbert v. Sykes; 147 Cal.App.4th 13, 26 (2007) [“declarations that lack
  16 foundation or personal knowledge, or that are argumentative, speculative,
  17 impermissible opinion, hearsay, or conclusory are to be disregarded”]; Premier
  18 Med. Mgmt. Systems, Inc. v. California Ins. Guar. Ass’n.; 136 Cal.App.4th 464, 476
  19 (2006); Roberts v. Los Angeles County Bar Ass’n., 105 Cal.App.4th 604, 613-614
  20 (2003); Morrow v. Los Angeles Unified School Dist., 149 Cal.App.4th 1424, 1445
  21 (2007). The following portions of Plaintiff’s opposition would be inadmissible at
  22 trial.
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   1                              OBJECTIONS TO EVIDENCE
   2             EXHIBITS ATTACHED TO PLAINTIFF’S OPPOSITION
   3                                                                                  Ruling
               Evidence Objected To                 Basis for Objection
                                                                                      Circled
   4
           1. Exhibit A to Plaintiff’s     The document has not been                 Sustained
   5          Opposition. Dkt. 22-1.       properly authenticated by a
                                           witness with knowledge that the           Overruled
   6                                       document is what Plaintiff claims
                                           it is. Fed. R. Evid. 901.
   7
                                           Document constitutes
   8                                       inadmissible hearsay because it is
                                           an out-of-court statement being
   9                                       offered to prove the truth of the
                                           matter asserted. Fed. R. Evid.
  10                                       801. No hearsay exception
                                           applies.
  11
                                           Lacks foundation. Fed. R. Evid.
  12                                       602.
  13       2. Exhibit B to Plaintiff’s     The document has not been                 Sustained
              Opposition. Dkt. 22-2.       properly authenticated by a
  14                                       witness with knowledge that the           Overruled
                                           document is what Plaintiff claims
  15                                       it is. Fed. R. Evid. 901.
  16                                       Document constitutes
                                           inadmissible hearsay because it is
  17                                       an out-of-court statement being
                                           offered to prove the truth of the
  18                                       matter asserted. Fed. R. Evid.
                                           801. No hearsay exception
  19                                       applies.
  20                                       Lacks foundation. Fed. R. Evid.
                                           602.
  21
       Dated: August 16, 2023            QUARLES & BRADY LLP
  22
  23
                                         By:         /s/ Heather C. Davis
  24
                                               CORRIE J. KLEKOWSKI
  25                                           HEATHER C. DAVIS
  26                                           Attorneys for Defendants The Board of
                                               Trustees of the California State University;
  27                                           Andrea Parashos; and Lee Mintz
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